       Case 2:05-cr-00443-WBS Document 91 Filed 01/22/07 Page 1 of 3




 1
 2
 3
 4
 5
 6
 7
 8                      UNITED STATES DISTRICT COURT
 9                    EASTERN DISTRICT OF CALIFORNIA
10                              ----oo0oo----
11 UNITED STATES OF AMERICA,
                                                 NO. Cr. S-05-0443 WBS
12            Plaintiff,
13      v.
                                                 ORDER RE EX PARTE
14                                               REQUEST FOR
                                                 RECONSIDERATION
15 JESUS JAVIER HUILTRON SANCHEZ,
   ESPIRIDION VALDOVINOS LUCATERO,
16 FRANCISCO PEREZ LUCATERO, and
   NARCISO GALLEGOS MORALES,
17
              Defendants.
18
   _____________________________/
19
20                              ----oo0oo----
21            The defendant who submitted the request for subpoena
22 duces tecum, which was denied in this court’s order of January 9,
23 2007, has moved ex parte for reconsideration of that order.
24 Again, the court discusses the details of the request only
25 insofar as necessary to explain the reasons for this order.
26            In the instant request, defendant discusses in some
27 detail the discovery proceedings before the magistrate judge thus
28 far in this case, and suggests that “the U.S. Attorney’s office

                                       1
       Case 2:05-cr-00443-WBS Document 91 Filed 01/22/07 Page 2 of 3




 1 for the Eastern District of California has a pattern of
 2 misleading the court and opposing counsel about evidence in the
 3 possession of local law enforcement agencies (and particularly
 4 exculpatory evidence).”     Thus, counsel urges that the defense
 5 needs to subpoena the files directly from the local investigating
 6 agencies in order to assure that the government has met its
 7 obligations under Brady v. Maryland, 373 U.S. 83 (1963).            Whether
 8 the local agency is able to comply with the request or not, a
 9 broad subpoena for the records of the local law enforcement
10 agency investigating this case is not the appropriate vehicle for
11 enforcing the government’s Brady obligations.
12            Defendant cites dicta from Judge Karlton’s decision in
13 United States v. Tomison, 969 F. Supp. 587 (E.D. Cal. 1997) to
14 the effect that “[t]he notion that because Rule 16 provides for
15 discovery, Rule 17(c) has no role in the discovery of document
16 can, of course, only apply to documents in the government’s
17 hands; accordingly, Rule 17(c) may well be a proper device for
18 discovering documents in the hands of third parties.” (Id., fn.
19 14).   This court follows the holding of Tomison, i.e., that
20 requests for subpoenas under Rule 17(c) are generally considered
21 ex parte, but respectfully disagrees with the suggestion in the
22 quoted language from footnote 14.       For the reasons discussed in
23 its prior order, this court does not adhere to the notion that
24 Rule 17(c) is properly used as a discovery device.
25            Nothing has been presented to cause the court to
26 change its order of January 9, 2007.       IT IS THEREFORE ORDERED
27 that defendant’s ex parte request for reconsideration of its
28 order denying authorization to issue the requested subpoena duces

                                       2
       Case 2:05-cr-00443-WBS Document 91 Filed 01/22/07 Page 3 of 3




 1 tecum pursuant to Rule 17(c) of the Federal Rules of Criminal
 2 Procedure be, and the same hereby is DENIED.
 3 DATED:   January 22, 2007
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                       3
